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PROB 12C                                                                          Report Date: November 21, 2013
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Brandy Mueller                           Case Number: 0980 2:11CR00100-005
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Fred Van Sickle, Senior U.S. District Judge
 Date of Original Sentence: March 8, 2012
 Original Offense:        Manufacture of Counterfeit Currency, 18 U.S.C. § 471 and 2
 Original Sentence:       Prison - 366 days;                Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Earl Allen Hicks                  Date Supervision Commenced: January 18, 2013
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: January 17, 2016


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Standard Condition # 2: The offender shall report to the probation officer and shall submit
                        a truthful and complete written report within the first five days of each month.

                        Supporting Evidence: Brandy Mueller reported to the probation office on October 9, 2013,
                        to submit her monthly supervision report after transferring to Spokane, Washington, from
                        Richland, Washington, in September 2013. Ms. Mueller has not submitted a monthly
                        supervision report during the month of November 2013. Ms. Mueller came to Spokane from
                        Richland, Washington, and moved in with her aunt, Cathy McNeely. Ms. McNeely was
                        contacted November 21, 2013, and indicated she has not seen Ms. Mueller since the first part
                        of October 2013. The whereabouts of Ms. Mueller are currently unknown.
           2            Standard Condition # 5: The offender shall work regularly at a lawful occupation unless
                        excused by the probation officer for schooling, training or other acceptable reasons.

                        Supporting Evidence: Brandy Mueller was court ordered to find employment. On October
                        9, 2013, Ms. Mueller was directed to contact Career Path Services and Vocational
                        Rehabilitation for assistance with employment. There has been no contact with Ms. Mueller
                        since that time. Ms. Mueller is no longer residing with her aunt, Cathy McNeely. Ms.
                        McNeely indicates Ms. Mueller has occasionally stopped by the residence, but has not been
                        living there since she first came to Spokane. Ms. McNeely states Ms. Mueller would stay
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                      at the residence for a few days, and then be gone for several weeks. Ms. McNeely has not
                      seen Ms. Mueller since the first part of October.
          3           Special Condition # 20: You shall abstain from alcohol and shall submit to testing
                      (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                      than six tests per month, in order to confirm continued abstinence from this substance.

                      Supporting Evidence: The probation office attempted to contact Ms. Mueller on several
                      occasions using the telephone number she supplied to the office. Ms. Mueller has not
                      returned any of the telephone calls. Subsequently, the probation office contacted Ms.
                      Mueller’s aunt, Cathy McNeely, who indicated Ms. Mueller has not been living at the
                      residence since the first part of October, and that she occasionally has stopped by the
                      residence, and has been intoxicated when she was there.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.



                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:      11/21/2013
                                                                            s/Anne L. Sauther
                                                                            Anne L. Sauther
                                                                            U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ Y]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other
                                                                             T 'SFE 7BO 4JDLMF
                                                                            Signature of Judicial Officer
                                                                               /PWFNCFS  
                                                                            Date
